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                         UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

 IN RE:
                                                               Case No. 19-30477
 SEAN AVERY PERKINS AND                                              Chapter 7
 KIMBERLY ANN PERKINS,

                           Debtors

                                  CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a copy of by depositing copies of TRUSTEE’S
APPLICATION FOR AUTHORITY AND APPROVAL TO EMPLOY GLADWIN D'COSTA, A
MEMBER OF MARYLAND REO REALTY, AND APPROVE LISTING AGREEMENT FOR SALE
OF REAL PROPERTY and NOTICE OF OPPORTUNITY FOR HEARING by either Electronic
Case Filing as indicated below or in the exclusive care and custody of the United States Postal
Service, with proper postage thereto affixed, addressed to the parties listed on the attached Exhibit
“A”.

Shelley K. Abel, US Bankruptcy Administrator                  VIA ELECTRONIC CASE FILING

Terry M. Duncan, Counsel for Debtors                          VIA ELECTRONIC CASE FILING

 Sean Avery Perkins
 Kimberly Ann Perkins
 6824 Charter Hills Road
 Charlotte, NC 28227

This 17th day of June, 2019.
                                        /s/ A. Burton Shuford
                                      A. Burton Shuford, NCBN 10035
                                      4700 Lebanon Road, Suite A-2
                                      Mint Hill, NC 28227
                                      Direct Dial: (980) 321-7000; bshuford@abshuford.com
                                      Attorney for the Truste
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